
741 N.W.2d 305 (2007)
Tina Lupi SMITH, Successor Personal Representative of the Estate of Barbara Lupi, Plaintiff-Appellee,
v.
TRINITY HEALTH-MICHIGAN, d/b/a St. Joseph Mercy Hospital, Defendant-Appellant, and
Timothy Shinn, M.D., and Michigan Heart, P.C., Defendants-Appellees.
Docket No. 131959. COA No. 266636.
Supreme Court of Michigan.
November 29, 2007.
On order of the Court, the application for leave to appeal the July 18, 2006 judgment of the Court of Appeals is considered and, it appearing to this Court that the case of Braverman v. Garden City Hosp. (Docket Nos. 134445-134446) is pending on appeal before this Court and that the decision in that case may resolve an issue raised in the present application for leave to appeal, we ORDER that the application be held in ABEYANCE pending the decision in that case.
